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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT ()F DELAWARE

 

 

 

)
ln re: )
) Chapter ll
Citadel Energy Holdings, LLC, et al. )
) Case No. 15-11322 (KJC)
Debtors. ) (Jointly Administered)
l
)
H20 Partners, LP, )
Plaintiff )
) Adversary Proceeding No.
v. )
)
Citadel Energy Services, LLC, and )
Citadel H20, LLC, )
Defendants. )
)
COMPLAINT

Plaintiff HZO Partners, LP (“H_§Q” or the “Partnership”) respectfully brings this action
for a declaratory judgment and constructive trust relief providing that certain assets currently
held by a non-debtor majority owned subsidiary of Debtor/Defendant Citadel Energy Services,
LLC (“Q_E_S_”), are the rightful property of - and should be transferred to ~ the Partnership (the
“Complaint”). The non-bankrupt majority owned subsidiary in question is an entity known as
Citadel HQO, LLC (“M”). The assets in question have a value of approximately $5 million.
If the Partnership is deemed the rightful owner of these assets, they will not be available to the
Debtorsl and their creditors, and if the Debtors have access to these assets through majority

ownership of Citadel through CES, then the Partnership will have a claim against the Debtors’

 

l The Debtors and the last four digits of their respective taxpayer identification numbers are as follows: Citadel
Energy Holdings, LLC (5061); Citadel Watford City Disposal Partners, LP (1520); Pembroke Fields, LLC (0341);
Citadel Energy SWD Holdings, LLC (5266) and Citadel Energy Services, LLC (7762).

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estates in excess of $7 million Accordingly, an expeditious determination of the issues
presented in this Adversary Proceeding is critical to how these Chapter ll cases will be
conducted and concluded lt should be noted that the Debtors placed no value on CES’ interest
in Citadel in its Schedules of Assets and Liabilities filed in the Chapter ll cases, seemingly an
admission that the assets are not property of the Debtors’ estates through their ownership of
Citadel.

On or about August 15, 2014, Defendant Citadel acquired the assets in question - which
consist mainly of groundwater permits and leases and customer contracts to supply freshwater
(the “Water Assets”) ~ at a price of $5 million Every penny of that purchase price was funded
by the Partnership based on an express contractual commitment, and unequivocal written
representations, by Debtor/Defendant CES that its majority owned subsidiary, Defendant
Citadel, would immediately assign all of the Water Assets to the Partnership. To date, almost a
full year later, the Water Assets have not been assigned to the Partnership The Partnership seeks
a declaratory judgment and a constructive trust as described above so that the Water Assets ~
which it paid for and should own and control - will finally be transferred to their rightful owner,
In addition, there is approximately $400,0()() in accounts payable of Citadel associated with the
Water Assets, which payables will be assumed by and paid by the Partnership in the event that
Court finds that the Water Assets are the property of the Partnership.

In support of this Complaint, Plaintiff alleges the following based on personal knowledge
as to its own identity, acts and property, and on information and belief as to the identity, acts and

property of others:

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The Parties

l. Plaintiff H2O is a Limited Partnership organized under the laws of the State of
Delaware with headquarters in Watford City, North Dakota.

2. Debtor/Defendant CES is a Limited Liability Company organized under the laws
of the State of Wyoming with a principal place of business in Beverly Hills, California.

3. Defendant Citadel is a Limited Liability Company organized under the laws of the
State of Delaware with a principal place of business in Beverly Hills, California. lt is a
subsidiary of Debtor/Defendant CES.

4. For purposes of full and complete disclosure, it should be noted that the sole
general partner of the Partnership, H20-GP2, LLC, a Delaware Limited Liability Company (the
“New GP/Manager”), is the sole party authorized to manage, operate and act for and on behalf of
Defendant Citadel. This exclusive power and authority is granted pursuant to a Management
Agreement dated April 6, 2015 (the “Management Agreement”). A copy of the Management
Agreement is attached hereto as Exhibit A.

Jurisdiction and Venue

5. This Court has subject matter jurisdiction over this action under 28 U.S.C. §
157(0)(1) and 28 U.S.C. § 1334(b).

6. This Court has personal jurisdiction over the Defendants, as CES is one of the
Debtors in the Chapter ll cases under which this adversary proceeding is commenced and the
other Defendant, Citadel, is a majority owned subsidiary of the Debtor, CES.

7. Venue is proper in this Court under 28 U.S.C. § 1409 as this adversary proceeding

is related to the Debtors’ Chapter ll cases.

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8. In or about July of 2014, Debtor/Defendant CES approached prospective
investors - both directly and through an intermediary - in an effort to induce them to purchase
Limited Partner (“LB”) shares in the Partnership.

9. As CES explained to prospective investors both orally and in writing, the purpose
of the Partnership was to raise money for the purchase of the Water Assets and to then sell the
fresh water acquired through those Water Assets to oil and gas drillers in the Bakken formation
of the Williston basin in North Dakota and Montana for use in hydraulic fracture drilling (also
known as “_racki_r_ig”).

lO. In connection with its solicitations of prospective investors in the Partnership,
CES issued to the prospective investors a Private Placement Memorandum (the “M”). A copy
of the PPl\/l is attached hereto as Exhibit B.

l 1. Among other information, the PPl\/l provided an explanation of the organizational
structure of the Partnership. According to the PPl\/l, CES would be the General Partner (“Q_B”)
of the Partnership. Defendant Citadel, which is a subsidiary of CES,2 would serve as the
Manager of the Partnership. See Ex. B at 2.

12. CES also explained in the PPl\/l that Defendant Citadel, the Manager of the
Partnership, had entered into a contract with a third party to purchase the Water Assets for $5
million The PPl\/l stated that CES would raise up to $7 million from LP investors and that $5
million of that amount would be spent to fund Citadel’s purchase of the Water Assets on behalf

of the Partnership. See id. at 2.

 

2 At all relevant times, CES has owned no less than 80% of Citadel. The other 20% of Citadel is or was owned by
an entity called Milestone Ventures, LLC.

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13. Of critical importance, CES represented in the PPl\/I that immediately upon the
closing of Citadel’s purchase of the Water Assets on behalf of the Partnership, Citadel would
assign all of those assets to the Partnership. lndeed, on the front page of PPl\/I, CES described
the Partnership investment as follows:

The Manager [Citadel] has entered into an agreement (the “Asset Purchase

Agreement”) to acquire the rights under leases and similar arrangements to more

than 127 strategic surface water well sources consisting primarily of lakes, ponds,

streams, and creeks, that serve the vast frac requirements of oil and gas operators

throughout the Bakken Shale. . .. T he Manager Will acquire the Water rights

and related assets (the “Water Assets”) and immediately following the

closing of this Offering Will assign the Water Assets to the Partnership. The

Manager will operate such Water Assets for the exclusive benefit of the

Partnership. See ia'. at cover page.3

l4. Similarly, under the capitalized and underlined heading “lNVESTl\/IENT
OBJECTIVE, STRATEGY AND POLlCY”, the PPl\/I represented that “[t]he Water Assets will
immediately after the closing of the Offering be assigned [by Citadel] to the Partnership.”
See id. at 5. And on the same page in a section of the document entitled “WATER ASSETS,”
the PPl\/I repeats yet again the express commitment that Citadel would assign the Water Assets to
the Partnership immediately after the closing of the offering See z`a'.

15. Defendant Citadel, which was managed and controlled by the same people who
owned, managed and controlled Debtor/Defendant CES, was aware at all relevant times of the
representations made by its parent company in the PPl\/I regarding the immediate transfer of the
Water Assets to the Partnership.

16. On or about August ll, 2014, Debtor/Defendant CES succeeded in raising

approximately $7 million in funds for the Partnership through the sale of LP interests therein to

at least five private investors who became limited partners in the Partnership.

 

3 Unless otherwise indicated, bolding and underlining of any text quoted in this Complaint has been added

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l7. In connection with the LPs investment in the Partnership, CES and the LPS
entered into a written agreement entitled “LIMITED PARTNERSHIP AGREEMENT OF HZO
PARTNERS, LP” (the “LPA”). A copy of the LPA is attached hereto as Exhibit C.

18. The LPA states that it “shall be governed by, and construed in accordance with,
the law ofthe State of Delaware.” See id. at § ll.09.

l9. Consistent with the PPl\/I, the LPA provided that Debtor/Defendant CES was the
GP of the Partnership, see Ex. C at § l.Ol (DEFINITIONS - “GENERAL PARTNER”), and that
Defendant Citadel would serve as the Manager of the Partnership See ia’. at § 3.07.

20. All of the financial investors in the Partnership were LPs. See Ex. C at 33
(“Schedule of Initial Partnership Interest”).

21. With respect to CES and Citadel’s roles as GP and Manager, respectively, the
LPA provides, inter alia, the following:

Duties of the General Partner and Manager. The General Partner [CES] shall use

its commercially reasonable efforts to exploit the Water Assets for the exclusive

benefit of the Partnership. Without limiting the generality of the foregoing all

net revenues from the sale of water on the properties encompassed by the Water

Assets shall inure to the benefit of the Partnership. The day'to-day management

of the business of the Partnership shall be conducted by [Citadel], a wholly owned

subsidiary of the General Partner which will be reimbursed by the Partnership for

its costs in operating the business and shall receive no additional consideration
See ia’. at § 3.07.

22. Also consistent with the PPl\/I, the LPA defines “Water Assets” to mean “those
assets acquired or to be acquired by the [sic] Citadel pursuant to the Asset Purchase
Agreement and to be assigned to the Partnership immediately after closing” See icz’. at § l.Ol

(Definitions - “Water Assets”).

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23. Defendant Citadel was aware at all relevant times of the representations and
commitments made by its parent company in the PPM and the LPA regarding the immediate
transfer of the Water Assets to the Partnership.

24. On or about August 15, 2014, Citadel closed the transaction contemplated by the
Asset Purchase Agreement and was assigned the Water Assets (the “Asset Purchase”). The $5
million payment made to the assignor in consideration for the assignment of the Water Assets to
Citadel was funded entirely by the Partnership.

25. ln funding the Asset Purchase, the Partnership reasonably and foreseeably placed
its trust and confidence in the integrity and fidelity of the Defendants and expected that Citadel
would, immediately upon the closing of the Asset Purchase`, assign the Water Assets to the
Partnership

26. Contrary to the unequivocal representations in the PPM and express requirement
in the LPA, Defendant Citadel did not assign the Water Assets to the Partnership immediately
upon the closing of the Asset Purchase.

27. On or about April 7, 2015, a majority of the LPs removed Debtor/Defendant CES
from its position of GP for “Cause” (as defined in the LPA). A copy of the removal notice
without attachments (the “Removal Notice”) is attached hereto as Exhibit D.

28. In the Removal Notice, the LPs identified, among other reasons, CES’s failure to
cause its subsidiary, Citadel, to transfer the Water Assets to the Partnership in accordance with
the terms of both the PPM and the LPA. See Ex. D at Point 2.4

29. Despite the clear terms of the PPM and the LPA, the Water Assets still have not

been assigned by Citadel - the non-debtor Defendant - to the Partnership.

 

4 Shortly thereafter, a majority of the LPs voted to install a new GP, HZO-GPZ, LLC, a Delaware limited liability
company

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30. Defendant Citadel has been unjustly enriched because it continues to hold the
Water Assets that were paid for, and purchased solely for the benefit of, the Partnership.

31. The Water Assets cannot lawfully be of any value to Debtor/ Defendant CES
regardless of whether they remain in possession of Citadel. As discussed above, as the GP, CES
was obligated under the LPA to “exploit the Water Assets for the exclusive benefit of the
Partnership.” See Ex. C at § 3.07. And since its removal for “Cause” from its role as GP of
the Partnership, CES has no right to be involved in any manner with the Water Assets.

32. The Water Assets also cannot lawfully be of any value to Defendant Citadel
because Section 3.07 of the LPA expressly provides that Citadel cannot derive any financial
benefit from the use or possession of the Water Assets. See id. (“Citadel will be reimbursed
for its costs in operating the business and shall receive no additional consideration.”)

eating
(Declaratory Judgment Under 28 U.S.C. § 2201)

33. The Partnership repeats and incorporates by reference the allegations in W l ~ 31
as if fully alleged herein

34. An actual controversy exists between the Plaintiff and the Defendants as to
whether the Water Assets rightfully belong to the Partnership rather than Citadel. The Chapter
ll filing by CES, and the resultant consequences thereof, has made a determination of this issue
critical to the Plaintiff and Defendants.

35. The Partnership is entitled to a declaration from this Court that:

i. the Partnership is the rightful owner of the Water Assets;
ii. Debtor/Defendant CES has no ri ght, title or interest in the Water Assets,

which are not property of CES’s estate or otherwise available (through its

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majority owned subsidiary Citadel) for liquidation by the Debtors or any
subsequent Trustee appointed in the CES bankruptcy cases; and
iii. Citadel is obligated, based on commitments within both the PPl\/I and the LPA
and/ or as a matter of equity, to assign the Water Assets to the Partnership.
COUNT II
(Constructive Trust)

36. The Partnership repeats and incorporates by reference the allegations in 1[1[ l - 34
as if fully alleged herein

37. ln acquiring the Water Assets with $5 million provided by the Partnership,
Defendant Citadel knowingly entered into a “confidential relationship” with the Partnership, i.e.,
one in which the Partnership placed its trust and confidence in the integrity and fidelity of
Citadel to immediately transfer the Water Assets to the Partnership.

38. Defendant Citadel has been unjustly enriched because of its failure to transfer the
Water Assets to the Partnership.

39. Defendant Citadel continues to unfairly hold the Water Assets under
circumstances in which those assets should, as a matter of equity and good conscience, be held
and enjoyed by the Partnership.

40. As a matter of equity, Defendant Citadel holds the Water Assets in a constructive
trust solely for the benefit of the Partnership and should be ordered by this Court to assign those

assets to their rightful owner, the Partnership.

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WHEREFORE, Plaintiff H2O Partners, L.P. respectfully requests that this Court:

A.

C.

Issue a Declaratory Judgment that:

i. the Partnership is the rightful owner of the Water Assets;

ii. Debtor/Defendant CES has no right, title or interest in the Water Assets,
which are not property of CES’s estate or otherwise available (through its
majority owned subsidiary Citadel) for liquidation by the Debtors or any
subsequent Trustee appointed in the CES bankruptcy cases; and

iii. Citadel is obligated, based on commitments within both the PPl\/I and the LPA

and/or as a matter of equity, to assign the Water Assets to the Partnership.

. Find in the Plaintiffs favor on Count ll of this Complaint for Constructive Trust and

order Defendant Citadel to assign all of the Water Assets to the Plaintiff within five
(5) business days of entry of the date of its Order; and

Grant such other relief to the Plaintiff as this Court deems to be just and proper.

Dated: August 6, 2015
Wilmington, DE WHITEFORD TAYLOR PRESTON LLC

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